       Case 4:16-cr-00107-HSG Document 258 Filed 01/07/19 Page 1 of 6



STEVEN G. KALAR
Federal Public Defender
Northern District of California
ANGELA HANSEN
Assistant Federal Public Defender
13th Floor Federal Building - Suite 1350N
1301 Clay Street
Oakland, CA 94612
Telephone: (510) 637-3500
Facsimile: (510) 637-3507
Email:       Angela_Hansen@fd.org


Counsel for Defendant Lucero



                          IN THE UNITED STATES DISTRICT COURT

                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                      OAKLAND DIVISION



  UNITED STATES OF AMERICA,                           Case No.: CR 16-107 HSG

                  Plaintiff,                          DECLARATION OF JORDAN SCHAER
                                                      IN SUPPORT OF DEFENDANT'S
          V.                                          SENTENCING MEMORANDA
  JAMES LUCERO,                                       Court:             Courtroom 2, 4th Floor
                  Defendant.                          Hearing Date:      January 14, 2019
                                                      Hearing Time:      2:00 p.m.


       I, Jordan Schaer, declare the following:

           1. I am employed as an Assistant Paralegal at the Office of the Federal Public

               Defender for the Northern District of California. I am assigned to the above-

               captioned case. I have a Bachelor of Arts degree in Computer Science and

               Sociology from the University of California, Berkeley. I have worked at the

               Office of the Federal Public Defender since August 2017.

                   a. My responsibilities include analyzing data from the United States

                        Sentencing Commission. In November 2017, I attended a two-day training

                        on best practices in analyzing US SC's data facilitated by Dr. Paul Hofer of

SCHAER DECL.
LUCERO, CR 16-107 HSG
                                                  1
           Case 4:16-cr-00107-HSG Document 258 Filed 01/07/19 Page 2 of 6




1                            the Sentencing Resource Counsel. In addition, I have reviewed the

2                            following documentation from the United States Sentencing Commission:

3                                i. "Variable Codebook for Individual Offenders" available at:
                                    https://www.ussc.gov/sites/default/files/pdf/research-and-
4                                   publications/datafiles/USSC_Public_Release_Codebook_FY99_F
                                    Y17.pdf
5
                                ii. "Effective Use of Federal Sentencing Data" available at:
6                                   https://www.ussc.gov/sites/default/files/pdf/research-and-
                                    publications/datafiles/20131122-ACS-Presentation.pdf
 7
                        b. I have compiled reports from USSC data which were either cited or
 8
                             submitted via ECF in other appointed cases in this district:
 9                               i. United States of America v. Brian McKenna (CR 17-465 CRB),
                                    ECF # 33-1 and 33-2 filed on 3/15/18;
10
                                    United States of America v. Adam Abrams (CR 17-141 JSW),
11                                  ECF # 24, filed on 6/13/18;
12                              iii. United States of America v. Wesley Krohn (CR 17-612 HSG),
                                     ECF # 22-2 filed on 8/13/18;
13                              iv. United States of America v. Ridell Lambert (CR 18-149 YGR),
                                    ECF # 32-1 filed on 12/7/18;
14
                                 v. United States of America v. Jeremy Harris (CR 18-243 EMC),
15                                  ECF # 28 filed on 1/3/19.
16              2. I used datafiles available from the United States Sentencing Commission on

17                  individual offenders from 2010 to 2017 to provide relevant information to above-

18                  captioned counsel and to create Exhibit K in support of defendant's sentencing

19                  memoranda and

20              3. First, I directly downloaded copies of the USSC datafiles from 2010 to 2017 from

21                  https://www.ussc.gov/research/datafiles/commission-datafiles. I converted the

22                  files to Comma Separated Values format and merged the items into one file using

23                  statistical software SPSS and statistical programming language R.

24              4. Next, I conferred with above-captioned counsel to determine which variables

25                  would best answer our research questions.

26              5. I imported the datafiles into Microsoft PowerBI to analyze the data by preparing

27                  graphs, tables and charts.

28              6. For accuracy and reliability in all exhibits, I set variable SOURCES to 1 to filter

     SCHAER DECL.
     LUCERO, CR 16-107 HSG
                                                        2
           Case 4:16-cr-00107-HSG Document 258 Filed 01/07/19 Page 3 of 6




1                   for only cases with known court findings.

2               7. I used the variable ADJ_BHI in conjunction with setting variable GDLINEHI to

3                   "2Q1.3" to find the number of times USSC reported Special Offense

4                   Characteristic 2Q1.3(b)(1) was applied from 2010 to 2017.

 5                      a. Nationwide:

6                             2Q1.3(b)(1) Enhancement:             Number of cases:

 7                                    0                                  46 (18.25%)
 8                                    2                                  1 (0.4%)
 9                                    3                                  1 (0.4%)
10                                    4                                  93(36.9%)
11                                    5                                  2 (0.79%)
12                                    6                                  108 (42.86%)
13                                    8                                  1 (0.4%)
14                            Total                                252
15                      b. In the Ninth Circuit:
16
                              2Q1.3(b)(1) Enhancement:             Number of cases:
17
                                      0                                  11(18.03%)
18
                                      3                                  1(1.64%)
19
                                      4                                  25 (40.98%)
20
                                      6                                  24 (39.34%)
21
                              Total                                61
22
                8. I used the variable ADJ DHI in conjunction with setting variable GDLINEHI to
23
                    "2Q1.3" to find the number of times USSC reported Special Offense
24
                    Characteristic 2Q1.3(b)(3) was applied from 2010 to 2017.
25
                         a. Nationwide:
26
                              2Q1.3(b)(3) Enhancement:             Number of cases:
27
                                      0                                  222 (88.1%)
28
                                      2                                  1 (0.4%)
     SCHAER DECL.
     LUCERO, CR 16-107 HSG

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           Case 4:16-cr-00107-HSG Document 258 Filed 01/07/19 Page 4 of 6




1
                                       4                                     29(11.51%)
2
                               Total                                   252
3
                        b. In the Ninth Circuit:
4
                               2Q1.3(b)(3) Enhancement:                Number of cases:
 5
                                       0                                     58 (95%)

                                       4                                     3 (4.92%)
 7
                               Total                                   61
 8
                9. I created Exhibit K, which is a summary chart of Federal Environmental Cases.
 9
                        a. I found the cases in this exhibit by searching each districts' PACER
10
                             website criminal reports for the statutes charged in the above-captioned
11
                             case, 33 USC § 1311, and 33 USC § 1319, and 33 USC § 1344.
12
                        b. Above-captioned counsel and I identified cases in the USSC datafiles that
13
                             were of interest but with different convicted statutes. I subsequently found
14
                             those cases by searching PACER for those statutes of conviction in
15
                             addition to querying PACER for the statutes at issue in this case.
16
                        c. After identifying cases of interest, I reviewed the documents available on
17
                             PACER for each case.
18
                10. I used the variable SENTTOTO in conjunction with setting the variable
19
                    GDLINEHI to "2Q1.3" to find information about sentencing trends.
20
                        a. I found the average total amount of months in prison with controlling
21
                             guideline 2Q1.3 to be 3.13 months in prison.
22
                        b. I also used the variable SENTTOTO while setting variable GDLINEHI to
23
                             either "2Q1.2" or "2Q1.3" and variable XFOLSOR to 20 for further
24
                             information on sentencing trends. I found the average sentence to be 18.26
25
                             months for the 12 people with final offense level 20 sentenced under
26
                             2Q1.2 or 2Q1.3.
27
                         c. 6 cases of the 252 cases did not include sentencing information in the
28

     SCHAER DECL,
     LUCERO, CR 16-107 HSG
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           Case 4:16-cr-00107-HSG Document 258 Filed 01/07/19 Page 5 of 6




1                            variable SENTTOTO.

2               11. I used variable SENTIMP in conjunction with setting variable GDLINEHI to

3                   "2Q1.3" to categorize the types of sentences imposed.

4                       a. Nationwide:
                              2Q1.3 Type of Sentence
 5                            Imposed:                               Number of cases:
6                                    No Prison                              158 (74.53%)
 7                                   Prison                                 41(19.34%)
 8                                   Prison and Confinement
                                     Conditions                             13 (6.13%)
 9
                               Total                                 212
10

11
                        b. I used Microsoft PowerBI to create a pie chart with the above information.
12
                        c. Of the 252 cases, 40 did not include information for the variable
13
                             SENTIMP. These cases were excluded.
14
                        d. With the variable SENTTOTO, I found that 178 (72.36%) cases were
15
                             reported to have been sentenced to no time (0 months) in prison. The
16
                             variable SENTTOTO does not include alternative confinement. (e.g. A
17
                             sentence of 0 months in prison and 6 months of alternative confinement
18
                             would have a SENTTOTO value of O.)
19
                12. I used the variable BOOKER2 in conjunction with setting variable GDLINEHI to
20
                    "2Q1.3" to categorize the USSC datafiles with respect to variance/departure from
21
                    the Sentencing Guidelines.
22                            2Q1.3 Type of Sentence
                              Imposed:                               Number of cases:
23
                                       Above Range                          2 (0.79%)
24
                                       Within Range                         86(34.13%)
25                                     Government Sponsored
                                       Below Range                          74 (29.37%)
26
                                       Below Range                          90 (35.71%)
27
                               Total                                 252
28

     SCHAER DECL.
     LUCERO, CR 16-107 HSG
           Case 4:16-cr-00107-HSG Document 258 Filed 01/07/19 Page 6 of 6




1                       a. I also used the variable BOOKER2 without controlling for guideline

2                            section in order to compare variance rates between 2Q1.3 and nationwide

3                            trends.

4                              Type of Sentence Imposed:             Number of cases:
 5                                     Above Range                         11,426 (2.15%)
6                                      Within Range                        256,728 (48.31%)
                                       Government Sponsored
7                                                                          154,007(28.98%)
                                       Below Range
 8                                     Below Range                         109,285 (20.56%)
 9                              Total                                531,454
10
                        b. I used Microsoft PowerBI to create pie charts with the above information.
11
            I declare under the penalty of perjury that the foregoin is true and correct.
12
            Executed on January 7, 2019, in Oakland, Cali
13

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     LUCERO, CR 16-107 HSG
